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 Credit Master Fund, LP

                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 In re:                                                      § Chapter 11
                                                             §
 ZENERGY BRANDS, INC., et al.,1                              § Case No. 19-42886
                                                             §
                  Debtors.                                   § (Jointly Administered)
     SECOND MOTION TO EXTEND (I) RULE 2004 DOCUMENT PRODUCTION
                DEADLINE AND (II) CHALLENGE PERIOD

       1.        TCA Global Credit Mater Fund, L.P. and TCA Special Situations Credit

Strategies ICAV (collectively, the "Secured Lenders") respectfully request that the Court

continue the deadlines for (a) the Secured Lenders to produce certain documents to Zenergy

Brands, Inc. and the related Debtor entities (collectively, the "Debtors") pursuant to Rule 2004 of

the Federal and Local Rules of Bankruptcy Procedure, and (b) the Official Committee of

Unsecured Creditors (the "Committee") to challenge the stipulations or findings of the second

interim order approving postpetition financing (the "DIP Order") [ECF No. 119]. In support of

these requests the Secured Lenders state:




 1
   The Debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal
 tax identification number, are: Zenergy Brands, Inc. (1686); NAUP Brokerage, LLC (7899); Zenergy
 Labs, LLC (8045); Zenergy Power & Gas, Inc. (1963); Enertrade Electric, LLC (8649); Zenergy & Associates,
 Inc. (4022); and Zen Technologies, Inc. (7309). The above-captioned Debtors’ mailing address is 5700 Grante
 Pkwy, #200, Plano, TX 75024.




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       2.           On December 11, 2019 the Court entered an order directing the Secured

Lenders to produce for inspection and copying certain documents to the Debtors, beginning not

later than December 7, 2019 and continuing through noon on December 18, 2019. ECF No.

125.

       3.           Additionally, on December 4, 2019 the court entered the DIP Order. ECF No.

119. Per ¶ 33 of the DIP Order, the "Challenge Period" within which the Committee may

challenge the stipulations or findings therein expires on February 10, 2020.

       4.           The parties are engaged in settlement negotiations that may render the Rule

2004 discovery and Challenge Period moot. As such, on December 18, 2019 the Secured

Lenders filed an agreed motion to extend the deadline for document production to January 8,

2020, and continue the Challenge Period Deadline by three weeks, through March 2, 2020.

ECF No. 132. The Court granted the motion and extended the deadlines accordingly. ECF No.

138.

       5.           The parties are continuing to engage in settlement negotiations that may render

the Rule 2004 discovery and Challenge Period moot. As such, the Secured Lenders respectfully

request entry of a second order extending the deadline for document production to noon CST on

January 29, 2020 and the Challenge Period Deadline through March 23, 2020.

       6.           This request is not being sought for purposes of delay and will not prejudice any

interested party.

       7.           Prior to filing this motion counsel for the Secured Lenders attempted to

communicate with counsel for the Debtors and Committee regarding the relief requested herein,

but has not yet received a response.




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       WHEREFORE, the Secured Lenders respectfully request entry of an Order: (a) granting

the relief requested herein and (b) such other relief as the Court deems appropriate under the

circumstances.

Dated: January 8, 2020

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                                                   By:      /s/ Bradley S. Shraiberg
                                                            Bradley S. Shraiberg, Esq.
                                                            Fla. Bar. No. 121622
                                                            Admitted Pro Hac Vice



                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished via

Notice of Electronic Filing by CM/ECF to all parties registered to receive such service in this

case on this the 8th day of January, 2020.


                                                         /s/ Bradley S. Shraiberg
                                                            Bradley S. Shraiberg, Esq.




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